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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                            Crim. No. 18-CR-32-2 (DLF)

 CONCORD MANAGEMENT AND
 CONSULTING LLC,                             Under Seal

                Defendant.



    GOVERNMENT’S MOTION FOR LEAVE TO FILE PARTIALLY UNDER SEAL

       The United States of America, by and through undersigned counsel, respectfully moves for

leave to file partially under seal an unredacted version of the Government’s Reply in Support of

Motion in Limine to Admit Documents (“Reply”). In support of its position, the government states

as follows.

       The Reply refers to information produced in discovery but protected from disclosure

pursuant to the Revised Protective Order. To protect this information, the Government seeks leave

to redact these portions of the Reply in the publically-filed version of the Reply and to file an

unredacted version of the Reply, attached to this motion, under seal.

       The Court has the inherent power to seal court filings when appropriate. United States v.

Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980) (citing Nixon v. Warner Communications, Inc.,

435 U.S. 589, 598 (1978)). Such sealing is within the discretion of the Court. See Nixon, 435

U.S. at 598 (common-law right to inspect and copy judicial records is not absolute, and the

decision whether to permit access is best left to the sound discretion of the trial court in the light

of the relevant facts and circumstances of the particular case).
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       If the Court grants this motion, the Government will promptly file a redacted version of

the Reply on the public docket. The Government does not object to the unsealing of this motion

once the Court rules on the motion; however, the Government requests that the unredacted

version of the Reply remain under seal. Accompanying this motion is a proposed order.

       Respectfully submitted,


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                                                           D.C. Bar No. 437437

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